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February 11, 2025                                                                          Mark.Perry@weil.com




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Re: Epic Games, Inc. v. Apple Inc., No. 4:20-cv-5640 (N.D. Cal.)

Counsel:

I write in response to your letter of February 7, 2025, and in furtherance of my letters on January 8 and
February 5.

Contrary to Epic’s letter of February 7, Apple did not make any “demands” in its prior letters. Rather,
Apple (1) designated the Category Two documents as “HIGHLY CONFIDENTIAL – ATTORNEYS’
EYES ONLY” and (2) asked Epic to enter into a routine stipulation to avoid burdening the Court with a
contested motion.

As previewed in my earlier letters, I am providing here an index of all “Category Two” documents
identified to date. Apple reserves the right to supplement this index upon completion of the Special
Masters’ review and resolution of the pending and forthcoming objections to Magistrate Judge Hixson.
Apple designates all documents in this index as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
ONLY” pursuant to the Amended Protective Order in effect for this litigation (Dkt. 274).

Given Epic’s refusal to enter into a Rule 502(d) stipulation, Apple will file an appropriate motion with the
Court, including an administrative motion to shorten time so that the issue can be resolved before February
24. We assume that Epic will not oppose the latter, but if that assumption is incorrect, please let me know.
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Gary Bornstein
Yonatan Even
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Sincerely,




Mark A. Perry
